 Case 8:19-cv-00408-JVS-DFM Document 55 Filed 07/03/19 Page 1 of 25 Page ID #:1114



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 7                     UNITED STATES DISTRICT COURT
 8                    CENTRAL DISTRICT OF CALIFORNIA
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10    STARBUZZ TOBACCO, INC.,
11                                 Plaintiff, CASE NO: SACV 19-408 JVS (DFMx)
12                      v.
13    GOLD STAR TOBACCO, INC. ET             REQUEST TO THE REGISTER OF
      AL.,
14                                           COPYRIGHTS PURSUANT TO
                                Defendant.
15                                           17 U.S.C. § 411(b)(2)
16
17
18
        REQUEST TO THE REGISTER OF COPYRIGHTS PURSUANT TO
19
                                  17 U.S.C. § 411(b)(2)
20
21
      Register of Copyrights
22    U.S. Copyright Office
      P.O. Box 70400
23    Washington, DC 20024-0400
24
25                                           1
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 1         Plaintiff Starbuzz Tobacco, Inc. (“Starbuzz”) brought this action for
 2   copyright infringement against Defendants Gold Star Tobacco, Inc. (“Gold Star”)
 3   and Samer Abdelmaseh (“Abdelmaseh”) (together—“Defendants”) . The
 4   Copyright Registration numbers of the work that Starbuzz alleges was infringed is
 5   VAu 1-313-168 (the “Design”).
 6
 7         In response to these claims, Defendants filed a First Amended Answer
 8   (“FAA”) and a counterclaim seeking a declaration that the copyright for VAu 1-
 9   313-168 is invalid because Starbuzz knowingly submitted inaccurate information
10   when filing the copyright registration application. (FAA, Dkt. No. 24 at 40–42.)
11
12         In the attached Order Regarding Motion for Issuance of Request to the
13   Register of Copyrights, the Court determined that Defendants had plausibly
14   alleged that Starbuzz knowingly submitted inaccurate information in connection
15   with his application for Copyright Registration No. VAu 1-313-168 because
16   Abdelmaseh had sent his GOLD STAR® word and logo trademarks to Starbuzz’s
17   graphic designer before the Design was finalized. Because the case is still in its
18   early stages, the Court has made no determinations on these allegations as a matter
19   of law.
20
21         In light of the decision in the attached Order Regarding Motion for Issuance
22   of Request to the Register of Copyrights, pursuant to 17 U.S.C. § 411(b)(2), the
23   Court requests a response by the Register of Copyrights to the following inquiries:
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 1               1) Would the Register of Copyrights have refused
 2               Starbuzz’s Copyright Registration No. VAu 1-313-168 for
 3               two-dimensional artwork, registered on April 4, 2018, if
 4               the Register of Copyrights had known that:
 5
 6                     a) although Starbuzz did not identify the work as
 7                     being a derivative work, Starbuzz knew that (i)
 8                     GOLD STAR® word trademark(s), and (ii) GOLD
 9                     STAR® logo trademark(s), which are owned by a
10                     third party, preexisted it?
11
12                     b) although Starbuzz did not identify the work as
13                     being a derivative work, Starbuzz had received
14                     authorization from the third party who owned the
15                     GOLD STAR® word and logo trademarks to create
16                     the Design incorporating those trademarks?
17
18               2) If the Register of Copyrights opines that it would have
19               refused Starbuzz’s Copyright Registration No. VAu 1-313-
20               168, would the Register of Copyrights accept a
21               supplementary registration by Starbuzz pursuant to §§
22               1802.2; 1802.6(J) of the Compendium despite
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 1                      a) Starbuzz failing to disclose the preexisting
 2                      GOLD STAR® word trademark(s) and GOLD
 3                      STAR® logo trademarks?
 4
 5                      b) Starbuzz failing to disclose the preexisting
 6                      Canadian trademark?
 7
 8   The Court requests a response to these matters on or before August 5, 2019. The
 9   Clerk of Court shall send this Request, including the attached Order Regarding
10   Motion for Issuance of Request to the Register of Copyrights (Exhibit 1) to the
11   Register of Copyrights.
12
13               IT IS SO ORDERED.
14
15   DATED: July 3, 2019
16                                         ___________________________
17                                         JAMES V. SELNA
                                           UNITED STATES DISTRICT JUDGE
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                          Exhibit 1
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   8                      UNITED STATES DISTRICT COURT
        .
   9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10

  11    Starbuzz Tobacco, Inc.,        )        SACV 19-00408JVS(DFMx)
                                       )
  12                      Plaintiff,   )
                                       )
  13                vs.                )        Order Regarding Motion for
                                       )        Issuance of Request to the
  14    Gold Star Tobacco Inc, et al., )        Register of Copyrights
                                       )
  15                                   )
                          Defendant,   )
  16    ______________________________ )
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  Starbuzz Tobacco, Inc. v. Gold Star Tobacco Inc., et al.,
  8:19-cv-408 JVS (DFMx)

        Order Regarding Motion for Issuance of Request to the Register of
                                 Copyrights

         Defendants Gold Star Tobacco, Inc. (“Gold Star”) and Samer Abdelmaseh
  (“Abdelmaseh”) (together—“Defendants”) filed a motion for issuance of request to
  the Register of Copyrights pursuant to 17 U.S.C. § 411(b)(2) and to stay discovery
  pending receipt of advice from the Register of Copyrights. (Mot., Dkt. No. 39.)
  Plaintiff Starbuzz Tobacco, Inc. (“Starbuzz”) opposed the motion. (Opp’n, Dkt.
  No. 42.) Defendants filed a reply. (Reply, Dkt. No. 47.)

        For the following reasons, the Court grants the motion for issuance of a
  request to the Register of Copyrights and denies the motion to stay discovery.

                                   I. BACKGROUND

         The following facts are either alleged in the Complaint or are otherwise
  undisputed by the parties. Starbuzz has been a manufacturer and supplier of shisha
  tobacco and other related products since 2005. (Complaint, Dkt. No. 1 ¶ 24.) In
  about 2015, Starbuzz and Abdelmaseh, an owner and operator of Gold Star,
  discussed entering into business together for the manufacture and sale of shisha
  tobacco co-branded under the “Gold Star Tobacco” label. (Id. ¶¶ 13, 25.) In
  November of 2015, Abdelmaseh and Wael Elhalwani (“Elhalwani”) met in Jordan
  to discuss this venture. (Abdelmaseh Decl., Dkt. No. 39-2 ¶ 7.) Elhalwani told
  Abdelmaseh that he was satisfied that Abdelmaseh owned the GOLD STAR
  trademark and flame logo in the U.S. for tobacco. (Id. ¶ 8.)

        In an email dated November 4, 2015 at 6:57 AM, Abdelmaseh sent
  Alejandro Arce (“Arce”), a graphic designer for Starbuzz, images of his Gold Star
  Charcoal and Gold Star Hookah Plus logos via. (Email, Dkt. No. 42-1, Ex. A.)
  The images appeared as follows:




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  (Id.)

        On November 5, 2015, Arce completed the initial design for the Gold Star
  Tobacco logo for use in connection with the planned business venture (the
  “Design”):




  (Id. ¶ 6; Complaint, Ex. A.) Starbuzz showed Abdelmaseh the Design as a
  potential logo for the planned business venture, but the business plans between
  Starbuzz and Defendants never materialized. (Id. ¶¶ 27-28.) Starbuzz never
  assigned any rights to the Design to Defendants or otherwise authorized
  Defendants to use the Design. (Id. ¶ 30.)


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        On January 20, 2016, Abdelmaseh filed applications for registration of
  trademarks with the United States Patent and Trademark Office (“USPTO”) for
  “GOLD STAR CHARCOAL PLUS SINCE 2012” and “Gold Star Charcoal” that
  indicated that their first use was January 1, 2015. (Dkt. No. 39-1 at p.12–13.) The
  USPTO eventually registered these marks as Reg. No. 5,031,249 on August 30,
  2016 and Reg. No. 5,053,328 (“GOLD STAR® logo”) on October 4, 2016,
  respectively:




  (Id.)

        In 2018, Starbuzz discovered that Defendants used a design that is identical
  or substantially similar to the Design for use in their business without Starbuzz’s
  consent (“Infringing Design”):




  (Id. ¶ 31.) Defendants are using and displaying the Infringing Design in
  connection with the sale, distribution, advertisement, and promotion of products.
  (Id. ¶ 34.)

          When viewed together, the Design and Infringing Design appear as follows:

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   (Id. ¶ 39.)

          On March 2, 2018, Abdelmaseh filed an application with the USPTO to
   register the Infringing Design as a design trademark (USPTO Serial No.
   87/818,151) knowing that he was not the owner of the Design and was
   unauthorized to use or apply to register it. (Id. ¶¶ 43-44.) Abdelmaseh also falsely
   stated that he has been using the Infringing Design since July 2, 2015, since that
   date was nearly four months before the Infringing Design was created. (Id. ¶¶ 46-
   47.) Starbuzz opposed the application, arguing that Abdelmaseh’s use of the
   Infringing Design infringes on Starbuzz’s Design and is therefore an unlawful use
   in commerce. (Id. ¶ 75.)

          On April 4, 2018, Starbuzz applied to register the Design with The United
   States Copyright Office (the “Copyright Office”). (Id. ¶ 35.) Starbuzz’s
   application did not disclose Abdelmaseh’s preexisting GOLD STAR® logo
   trademark. The GOLD STAR® logo and Design appear together side-by-side:




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         The Copyright Office issued a Certificate of Registration for the Design as
   Registration No. VAu 1-313-168 (the “Certificate”) with an effective date of April
   4, 2018. (Id. ¶ 35, Ex. C.)

                                  II. LEGAL STANDARD

          To state a claim for copyright infringement, a plaintiff must allege: “(1)
   ownership of a valid copyright, and (2) copying of constituent elements of the
   work that are original.” Feist Publications, Inc. v. Rural Tel. Serv. Co., 499 U.S.
   340, 361 (1991). “A certificate of registration satisfies the requirements of this
   section and section 412, regardless of whether the certificate contains any
   inaccurate information, unless (A) the inaccurate information was included on the
   application for copyright registration with knowledge that it was inaccurate; and
   (B) the inaccuracy of the information, if known, would have caused the Register of
   Copyrights to refuse registration.” 17 U.S.C. § 411(b)(1) (emphasis added). “In
   any case in which inaccurate information described under paragraph (1) is alleged,
   the court shall request the Register of Copyrights to advise the court whether the
   inaccurate information, if known, would have caused the Register of Copyrights to
   refuse registration.” 17 U.S.C. § 411(b)(2) (emphasis added). “[I]nadvertent
   mistakes on registration certificates do not invalidate a copyright and thus do not
   bar infringement actions, unless the alleged infringer has relied to its detriment on
   the mistake, or the claimant intended to defraud the Copyright Office by making
   the misstatement.” Urantia Found. v. Maaherra, 114 F.3d 955, 963 (9th Cir. 1997).
   “[T]he plain language of § 411(b) . . . does not require a showing of fraud, but only
   that the claimant included inaccurate information on the application ‘with
   knowledge that it was inaccurate.’” Gold Value Int’l Textile, Inc. v. Sanctuary
   Clothing, LLC, 925 F.3d 1140, 1147 (9th Cir. 2019) (quoting 17 U.S.C. §
   411(b)(1)(A)).

                                    III. DISCUSSION

   A.    Request to Register of Copyrights Upon Allegations

          Defendants argue that the Court must issue a request to the Register of
   Copyrights to determine if the Copyright Office would have refused registration
   for certificate No. VAu 1-313-168 had it known that Starbuzz had knowingly
   failed to disclose in its copyright application that the Design included
   Abdelmaseh’s 2013 GOLD STAR word trademarks and GOLD STAR® logo as

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   preexisting works. (Mot., Dkt. No. 39 at 22.) Defendants point out that the plain
   language of 17 U.S.C. § 411(b)(2) requires that the Court seek advice from the
   Register of Copyrights provided that it “is alleged” rather than proven that
   inaccurate information was knowingly included. (Id. at 10.) See Response of the
   Register of Copyrights to Request Pursuant to 17 U.S.C. § 411(b)(2) at 3–4, n. 19,
   Urban Textile, Inc. v. Fashion Avenue Knits, Inc., et al., No. 2:16-cv-06786-MWF
   (KSx) (C.D. Cal., Dec. 29, 2017) (“To be sure, the plain text of section 411(b)(2)
   permits courts to seek the Register’s advice based on a mere allegation that the
   registrant knowingly included inaccurate information in a registration application.
   In such cases, like the one here, the Register’s response will assume the truth of
   those allegations, solely for purposes of determining whether the inaccuracies
   would have been material.”). Defendants then contend that Starbuzz knew that it
   had failed to include information about the preexisting GOLD STAR marks
   because in November of 2015, Abdelmaseh met with Elhalwani in Jordan, and
   Elhalwani “advised [] Abdelmaseh that Starbuzz had conducted trademark searches
   of the GOLD STAR brand and flame logo in order to ensure that Abdelmaseh
   owned them in the U.S.” (Mot., Dkt. No. 39 at 20.)

          Starbuzz instead points to reasons that Defendants should first make a
   showing that inaccurate information was knowingly included in the copyright
   application before the Register of Copyrights is to be consulted to prevent litigants
   from using such advice as a delay tactic. (Opp’n, Dkt. No. 42.) See Matrix Int’l
   Textile, Inc. v. Monopoly Textile, Inc., 2017 U.S. Dist. LEXIS 115318, *10-11
   (C.D. Cal. Mar. 6, 2017). The Seventh Circuit has explained the reasoning for
   courts determining that inaccurate information was included in a copyright
   application prior to seeking advice from the Register of Copyrights:

                Given its obvious potential for abuse, we must strongly
                caution both courts and litigants to be wary of using this
                device in the future. See, e.g., Olem Shoe Corp. v. Wash.
                Shoe Co., No. 09-cv-23494, 2010 U.S. Dist. LEXIS
                143590, at *6 n.4 (S.D. Fla. Sep. 3, 2010) (noting section
                411(b)(2)’s potential as a “weapon to delay the proceedings
                in district court”). Although the statute appears to mandate
                that the Register get involved “[i]n any case in which
                inaccurate information [in an application for copyright
                registration] is alleged,” 17 U.S.C. § 411(b)(2), input need
                not be sought immediately after a party makes such a claim.

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               Instead, courts can demand that the party seeking
               invalidation first establish that the other preconditions to
               invalidity are satisfied before obtaining the Register’s
               advice on materiality. In other words, a litigant should
               demonstrate that (1) the registration application included
               inaccurate information; and (2) the registrant knowingly
               included the inaccuracy in his submission to the Copyright
               Office.     17 U.S.C. § 411(b)(1)(A).           Once these
               requirements are met, a court may question the Register as
               to whether the inaccuracy would have resulted in the
               application’s refusal. Aside from minimizing the risk that
               parties would use this provision as a delay tactic, this
               approach has the added benefit of an endorsement from the
               Register. See Response of the Register of Copyrights to
               Request Pursuant to 17 U.S.C. § 411(b)(2) at 12, Olem
               Shoe, No. 1:09-cv-23494 (“[B]efore asking the Register
               whether she would have refused to register a copyright . .
               . a court should feel free to determine whether there is in
               fact a misstatement of fact.”). When faced with this
               situation in the future, courts should tread carefully and
               employ this mechanism only when necessary.

   DeliverMed Holdings, LLC v. Schaltenbrand, 734 F.3d 616, 625 (7th Cir. 2013)
   (emphasis added). The Register of Copyrights has recommended following this
   approach:

               While 17 U.S.C. § 411(b)(2) requires the court to seek the
               Register’s advice when there is an allegation that an
               application contains inaccurate information, the Register
               observes that the statute says nothing about the timing of
               the request. The Register suggests that, at a minimum, the
               court retains the power to delay the request until a factual
               record has been developed, e.g., through affidavits or
               discovery. The Register believes that if a court concludes
               that the bare allegations are unsupported by any facts, the
               court would be free to refrain from issuing requests to the
               Register. The court could, for example, entertain a motion
               for partial summary judgment prior to referring certain

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                  questions to the Register. If a court concludes that there is
                  no factual basis for certain allegations, such as an allegation
                  that the plaintiff is not the author or copyright owner of the
                  work in question, the court might come to a conclusion on
                  such issues as a matter of law, in which case there may be
                  no need to refer the question to the Register. In other
                  words, before asking the Register whether she would have
                  refused to register a copyright if she had known about a
                  particular alleged misstatement of fact on an application, a
                  court should feel free to determine whether there is in fact
                  a misstatement of fact.

   Response, Olem Shoe, No. 1:09-cv-23494, 11–12 (S.D. Fl. Oct. 14, 2010). “The
   Register cautions, however, that if that issue depends even in part on interpretation
   or understanding of the Copyright Office’s registration practices, the more prudent
   practice – and the practice anticipated in § 411(b) – would be to refer the question
   to the Register.” Id. at 12, n. 5.

         In accordance with both the statute and the Register of Copyrights’
   Response in Olem Shoe, the Court thinks it appropriate to consider whether
   Defendants’ allegations that inaccurate information was knowingly included in
   Starbuzz’s application are supported by the undisputed facts currently set forth by
   the parties. While the case is still in its early stages such that the Court does not
   have before it all facts on which the parties may ultimately rely, as it would at the
   summary judgment stage, the facts currently available are still useful for
   determining whether Defendants’ allegations are at least plausible based on the
   evidence available.1

   B.     Inaccurate Information

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             The Court understands that the Register of Copyrights’ position is that “the court retains
   the power to delay the request until a factual record has been developed,” and the Court likewise
   acknowledges that questions to the Register of Copyrights may be clearest and the Register of
   Copyrights’ advice may be most useful when a factual record has been developed. Response,
   Olem Shoe, No. 1:09-cv-23494 at 11. The Court does not believe, however, that the statute
   provides the Court with the power to delay a request that is based on plausible allegations that
   inaccurate information was knowingly included in an application for copyright registration when
   the statute unambiguously states that the Court shall request advice under such circumstances.
   See 17 U.S.C. § 411(b)(2).

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          The Copyright Act states that “[t]he application for copyright registration
   shall be made on a form prescribed by the Register of Copyrights and shall include
   –

                 (9) in the case of a compilation or derivative work, an
                 identification of any preexisting work or works that it is
                 based on or incorporates, and a brief general statement of
                 the additional material covered by the copyright claim
                 being registered; and

                 (10) any other information regarded by the Register of
                 Copyrights as bearing upon the preparation or identification
                 of the work or the existence, ownership, or duration of the
                 copyright.

   17 U.S.C. § 409.

          A “derivative work” is defined as:

                 [A] work based upon one or more preexisting works, such
                 as a translation, musical arrangement, dramatization,
                 fictionalization, motion picture version, sound recording,
                 art reproduction, abridgment, condensation, or any other
                 form in which a work may be recast, transformed, or
                 adapted. A work consisting of editorial revisions,
                 annotations, elaborations, or other modifications which, as
                 a whole, represent an original work of authorship, is a
                 “derivative work”.

   17 U.S.C. § 101 (emphasis added). The Ninth Circuit has found “that reference to
   ‘preexisting works,’ as compared with the reference to ‘preexisting materials’ in
   the coordinate definition of a ‘compilation,’ implies that a derivative work, unlike a
   compilation, must incorporate that which itself is the subject of copyright.” 1
   Nimmer on Copyright § 3.01 (2019); Ets-Hokin v. Skyy Spirits, Inc., 225 F.3d
   1068, 1079 (9th Cir. 2000).2 “A work is not derivative unless it has substantially
   copied from a prior work. If what is borrowed consists merely of ideas and not of
          2
           In Ets-Hokin, the Ninth Circuit quotes an earlier version of Nimmer with similar
   language and meaning.

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   the expression of ideas, then, although the work may have in part been derived
   from prior works, it is not a derivative work.” 1 Nimmer on Copyright § 3.01
   (2019). “[A] work will be considered a derivative work only if it would be
   considered an infringing work if the material that it has derived from a pre-existing
   work had been taken without the consent of a copyright proprietor of such
   pre-existing work.” Id. Failure to “identify preexisting work upon which a
   derivative work is based” on an application to the Register constitutes the inclusion
   of “inaccurate information” under 17 U.S.C. § 411(b)(1). Unicolors, Inc. v.
   Burlington Stores, Inc., et al., No. 15-cv-3866 DMG (ASx) (C.D. Cal. Dec. 10,
   2015).

           Defendants argue that Starbuzz’s copyright application for the Design
   contained inaccurate information because it failed to disclose Abdelmaseh’s prior
   2013 GOLD STAR word trademarks and GOLD STAR® logo trademark. (Mot.,
   Dkt. No. 39 at 11; Kohan Decl., Dkt. No 39-1, Exs. 1–3.) Abdelmaseh “owns U.S.
   trademark registrations for the trademark GOLD STAR (word marks and design)
   including Reg. Nos.: 4,534,288; 4,489,270; 4,668,495; 4,879,623; 5,031,249; and
   5,053,328, in Class 34 (smokers’ articles, including tobacco) and Class 3
   (incense).” (Mot., Dkt. No. 39 at 11.) Defendants indicate that Starbuzz’s Design
   is “strikingly similar to [Abdelmaseh’s] GOLD STAR[® ] logo” because “the
   central flame/lamp design surrounded by a circle or ring featuring [Abdelmaseh’s]
   GOLD STAR® trademark written around the circle or ring, are all nearly
   identical.” (Id. at 13.) Since the same colors and images are used, Defendants
   contend that Starbuzz’s Design was derived from the GOLD STAR® logo labels.
   (Id. at 13–14.) Defendants suggest that because Starbuzz did not disclose “(a) at
   least the derivative nature of the [Design] as being copied from, derived from,
   and/or based on Defendant [Abdelmaseh’s] prior GOLD STAR[® logo], and (b)
   that the text in Starbuzz’s [Design] was copied from [Abdelmaseh’s] prior GOLD
   STAR® word trademarks,” Starbuzz included inaccurate information in applying
   for registration of an original work. (Id. at 15.) See GB Mktg. USA Inc. v.
   Gerolsteiner Brunnen GmbH & Co., 782 F. Supp. 763, 774 (W.D.N.Y. 1991)
   (“Clearly the label and carton which are the subject of plaintiff’s copyrights in the
   case at bar are not original in every detail, since they make use of preexisting
   Gerolsteiner trademarks and logos. . . . While the precise arrangement of the words
   and images may have been Gauntlett’s, then, the use of the same typeface, colors,
   and images puts it beyond question that the label was derived from Gerolsteiner’s



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   earlier labels. If Gauntlett’s label were copyrightable at all, therefore, it was only
   so as a ‘derivative work.’”).3

           Starbuzz instead argues that the Design “is an original work created by
   Starbuzz’s former employee, [Arce], and was not derived, copied from, inspired
   by, or otherwise based on [Abdelmaseh’s] trademarks. (Opp’n, Dkt. No. 42 at 8.)
   Specifically, Starbuzz asserts that “Arce independently came up with the idea for
   the ‘gold-colored big ‘G’ with a gold-colored star in between the gap of the ‘G’”
   that now contains a “metallic sheen” with the gold color, and “[t]he design created
   by Arce further consists of a new and different flame and bowl.” (Id. at 8–9.)
   Because Starbuzz considers the Design to be “original and unique,” it indicates that
   the copyright application did not contain inaccurate information. (Id. at 9.)
   Starbuzz additionally contends that it was not required to identify Abdelmaseh’s
   previous logos in “space 6” of the copyright application because the Design does
   not fit within the definition of a “derivative work.” (Id.)

         First, Starbuzz points out that the Abdelmaseh’s word trademarks may not
   be copyrightable because “[b]rand names, trade names, slogans, and other short
   phrases or expressions cannot be copyrighted, even if they are distinctively
   arranged or printed.” Kitchens of Sara Lee, Inc. v. Nifty Foods Corp., 266 F.2d
   541, 544 (2d Cir. 1959). Second, Starbuzz argues that the Design is not
   substantially copied from the GOLD STAR® logo because the Design contains a
   gold “G” with a star in the letter’s gap in lieu of a black circle surrounding the
   flame, and “the ‘expression’ of the flame and the bowl are different.” (Opp’n, Dkt.
   No. 42 at 11.) See 1 Nimmer on Copyright § 3.01 (2019) (“If what is borrowed
   consists merely of ideas and not of the expression of ideas, then, although the work
   may have in part been derived from prior works, it is not a derivative work.”).
   Third, Starbuzz emphasizes that Defendants have not yet shown that the GOLD
   STAR® logo is subject to copyright protection because Abdelmaseh has only filed
   an application for copyright registration, and that application has not yet been
   granted registration. (Opp’n, Dkt. No. 42 at 12.) Starbuzz likewise suggests that
   any copyright registration of the logo would be subject to challenge for lack of
   originality. (Id.)



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            The Ninth Circuit has noted some disapproval of GB Marketing USA. See Lamps Plus,
   Inc. v. Seattle Lighting Fixture Co., 345 F.3d 1140, 1145 (9th Cir. 2003).

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         The Court finds that the undisputed facts support the conclusion that
   inaccurate information was submitted on Starbuzz’s copyright application for the
   Design. The Design includes a three-layered bowl and yellow flame outlined in
   red and surrounded by a circular shape, as does the GOLD STAR® logo. While
   Arce may not have copied the exact shape of the flame and bowl, the Design still
   contains the same expression as the GOLD STAR® logo.

           As to Starbuzz’s point that the GOLD STAR® logo may not be
   copyrightable, the Court declines to substitute its judgment for that of the
   Copyright Office, especially since Starbuzz represents that Abdelmaseh has
   submitted an application for the logo’s registration, which remains pending.
   (Opp’n, Dkt. No. 42 at 12.) Since the Court believes that this case may “depend[] .
   . . in part on interpretation or understanding of the Copyright Office’s registration
   practices” with respect to derivative works, the Court will refer its questions to the
   Register provided that the facts known are consistent with Defendants’ allegations
   that Starbuzz knowingly omitted information regarding Abdelmaseh’s GOLD
   STAR® logo. Response, Olem Shoe, No. 1:09-cv-23494, at 12, n. 5.

   C.    Knowledge of the Inaccuracy

       Space 6 of the Copyright Office’s Form VA, entitled “Derivative Work or
   Compilation,” states:

                General Instructions: Complete space 6 if this work is a
                “changed version,” “compilation,” or “derivative work,”
                and if it incorporates one or more earlier works that have
                already been published or registered for copyright, or that
                have fallen into the public domain. A “compilation” is
                defined as “a work formed by the collection and assembling
                of preexisting materials or of data that are selected,
                coordinated, or arranged in such a way that the resulting
                work as a whole constitutes an original work of
                authorship.” A “derivative work” is “a work based on one
                or more preexisting works.” Examples of derivative works
                include reproductions of works of art, sculptures based on
                drawings, lithographs based on paintings, maps based on
                previously published sources, or “any other form in which
                a work may be recast, transformed, or adapted.” Derivative

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                 works also include works “consisting of editorial revisions,
                 annotations, or other modifications” if these changes, as a
                 whole, represent an original work of authorship.

                 Preexisting Material (space 6a): Complete this space and
                 space 6b for derivative works. In this space identify the
                 preexisting work that has been recast, transformed, or
                 adapted. Examples of preexisting material might be
                 “Grunewald Altarpiece” or “19th century quilt design.” Do
                 not complete this space for compilations.

                 Material Added to This Work (space 6b): Give a brief,
                 general statement of the additional new material covered by
                 the copyright claim for which registration is sought. In the
                 case of a derivative work, identify this new material.
                 Examples: “Adaptation of design and additional artistic
                 work”; “Reproduction of painting by photolithography”;
                 “Additional cartographic material”; “Compilation of
                 photographs.” If the work is a compilation, give a brief,
                 general statement describing both the material that has been
                 compiled and the compilation itself.              Example:
                 “Compilation of 19th century political cartoons.”4

         The Copyright Act provides that “[a] transfer of copyright ownership, other
   than by operation of law, is not valid unless an instrument of conveyance, or a note
   or memorandum of the transfer, is in writing and signed by the owner of the rights
   conveyed or such owner’s duly authorized agent.” 17 U.S.C. § 204(a).

          Starbuzz asserts that any inaccurate omission of information regarding
   Abdelmaseh’s GOLD STAR® logo was merely inadvertent because Starbuzz filed
   the application with a good faith belief that the Design was an original work, and
   there was no intent to defraud the Copyright Office. (Opp’n, Dkt. No. 42 at 13.)
   Moreover, Starbuzz argues that “even if the [] Design is determined by the Court to
   be a derivative, the Register of Copyrights would likely still have granted
   registration because it is a work that was created with [Abdelmaseh’s]

          4
           https://www.copyright.gov/forms/formva.pdf (emphasis in bold in original)(emphasis
   underlined added).

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   authorization and approval” because Abdelmaseh emailed the logo to Arce.
   (Opp’n, Dkt. No. 42 at 14) (emphasis omitted). Starbuzz maintains that no
   permission from Abdelmaseh is required to copyright the Design, so long as he
   authorized use of the GOLD STAR® logo. See U.S. Auto Parts Network, Inc. v.
   Parts Geek, LLC, 692 F.3d 1009, 1019–20 (9th Cir. 2012) (reversing a grant of
   summary judgment on a claim of copyright infringement when a reasonable jury
   could have found an implied license existed based on conduct); Schrock v.
   Learning Curve Int’l, Inc., 586 F.3d 513, 523 (7th Cir. 2009) (“[T]here is nothing
   in the Copyright Act requiring the author of a derivative work to obtain permission
   to copyright his work from the owner of the copyright in the underlying work.”).
   In addition, Starbuzz requests that the Court allow it to file a supplementary
   registration if the Court finds that its application information was inaccurate.
   (Opp’n, Dkt. No. 42 at 19.)

          Defendants point out that it is undisputed that Starbuzz knew of the GOLD
   STAR® logo when the Design application was submitted because Arce received
   pictures of it the day before he finalized the Design. (Reply, Dkt. No. 47 at 16.) In
   addition, they emphasize that a showing of fraud is not required under the
   circumstances. (Id.) See Gold Value, 925 F.3d at 1147 (“[T]he plain language of §
   411(b) . . . does not require a showing of fraud, but only that the claimant included
   inaccurate information on the application ‘with knowledge that it was
   inaccurate.’”).5

          In response to Starbuzz’s argument that Abdelmaseh authorized the use of
   the GOLD STAR® logo, Defendants suggest that 17 U.S.C. § 204(a) requires that
   the transfer of the right to use preexisting designs in a copyrighted work must be in
   writing. (Reply, Dkt. No. 47 at 21.) See Cunningham v. Seymour, No.
   CV1108095DMGAJWX, 2012 WL 12894699, at *3 (C.D. Cal. Feb. 9, 2012)
   (requiring that a “work made for hire” contain a written instrument signed by the
   parties or that a transfer of copyright ownership be in writing to comply with the
   Copyright Act). In the absence of express written authorization to use the GOLD
   STAR® logo, Defendants say that there was no consent for its use for the Design
   registration. (Reply, Dkt. No. 47 at 21.)



          5
             Both parties cite the district court opinion in Gold Value. The Ninth Circuit affirmed
   the district court’s decision in a binding holding while briefing for this motion was ongoing.

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          The Court finds that the facts known likewise support the allegation that any
   inaccurate information was knowingly included in the copyright application
   because Starbuzz was aware of the GOLD STAR® logo long before it completed
   the application. See Lamie v. U.S. Tr., 540 U.S. 526, 534 (2004) (“It is well
   established that ‘when the statute’s language is plain, the sole function of the
   courts—at least where the disposition required by the text is not absurd—is to
   enforce it according to its terms.’”) (citation omitted). Because the case is still at
   an early stage, however, the Court makes no finding that inaccurate information
   was knowingly submitted as a matter of law, especially since the parties dispute
   whether Starbuzz had authorization to incorporate the trademarks; rather, the Court
   finds only that the allegations are plausible in light of the facts currently known.
   Because Defendants plausibly allege that inaccurate information was knowingly
   included in Starbuzz’s application, the Court will request advice from the Register
   of Copyrights as to whether it would have refused registration generally because of
   a known inaccuracy. In addition, the Court will request whether the Register of
   Copyrights would have still refused registration even if Abdelmaseh had provided
   authorization to incorporate his trademarks in the Design.

   D.    Request to the Register of Copyrights

         Defendants request that the Court pose the following question to the Register
   of Copyrights:

                Would the Register of Copyrights have refused Starbuzz’s
                Copyright Registration No. VAu 1-313-168 (for two-
                dimensional artwork covering a circle and flame design,
                under the title “Goldstar Tobacco Since 2012”), registered
                on April 4, 2018, if the Register of Copyrights had known
                that although Starbuzz did not identify the work as being a
                derivative work, Starbuzz had submitted its proposed circle
                and flame design artwork incorporating and based upon the
                preexisting: (i) GOLD STAR® word trademark(s), and (ii)
                GOLD Star circle and flame design trademark(s), that are
                owned by a third party?

   (Mot., Dkt. No. 39 at 24.)



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        Starbuzz requests that the question to the Register of Copyrights be re-
   framed and posed in the following form:

                Had the Register of Copyrights known about the
                preexisting “Gold Star Charcoal Logo” at the time of
                Starbuzz’s application, would it have refused Starbuzz’s
                Copyright Registration No. VAu 1-313-168 even though
                the lack of disclosure was because (a) Starbuzz believed in
                good faith that it was an independent creation; and (b)
                Starbuzz was authorized to base its design on the “Gold
                Star Charcoal Logo” as part of a planned business venture
                with the owner of the Gold Star Charcoal Logo?

   (Opp’n, Dkt. No. 42 at 23.) In addition, Starbuzz requests that the Court ask
   whether the inaccurate information on the registration is correctable:

                If the Register of Copyrights opines that it would have
                refused Starbuzz’s Copyright Registration No. VAu 1-313-
                168 had it known about the preexisting Gold Star Charcoal
                Logo and the circumstances surrounding Starbuzz’s lack of
                disclosure about the Charcoal logo, would the Register of
                Copyrights accept a supplementary registration by Starbuzz
                pursuant to §§ 1802.2; 1802.6(J) of the Compendium?

   (Id. at 23–24.)

           Defendants argue that the additional elements of the Design are not entitled
   to copyright protection. (Reply, Dkt. No. 47 at 26.) Specifically, Defendants
   suggest that the “stylized ‘G’ with a star in the gap of the ‘G’” cannot be registered
   because it involves “letters” and “common symbols and shapes, such as a . . . star.”
   (Id.) (citing Copyright Office Circular 33). In addition, Defendants indicate that
   the “multidimensional golden color” of the G and the blank background are not
   copyrightable because they involve “mere variations of typographic ornamentation,
   lettering or coloring.” (Id.) (citing 37 C.F.R. § 202.1(a)). Similarly, the words
   “Goldstar Tobacco” in capital letters wrapped around the “G” and the words
   “Since 2012” above the flame are not copyrightable according to Defendants
   because they involve “words and short phrases such as names, titles, and slogans.”
   (Id.) (citing 37 C.F.R. § 202.1(a)). While Defendants concede that the flame on

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   top of the pedestal lamp might otherwise be subject to copyright protection, they
   indicate that because it is substantially identical to the GOLD STAR® logo, it
   cannot now receive such protection. (Id. at 27.) Finally, Defendants point to
   Abdelmaseh’s Canadian Trademark Reg. No. TMA958490 (the “Canadian
   Trademark”), which Abdelmaseh represents was on the internet as early as March
   17, 2015 as evidence that the “G” with the star also involves preexisting design
   elements:




   (Abdelmaseh Suppl. Decl., Dkt. No. 47-2, Exs. 1, 2.)

         The Court believes that both questions in some form are worth posing to the
   Register of Copyrights. The answers to these questions may prevent the parties
   from engaging in needless litigation. Thus, the Court asks the Register of
   Copyrights the following:



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                1) Would the Register of Copyrights have refused
                Starbuzz’s Copyright Registration No. VAu 1-313-168 for
                two-dimensional artwork, registered on April 4, 2018, if the
                Register of Copyrights had known that:

                      a) although Starbuzz did not identify the work as
                      being a derivative work, Starbuzz knew that (i)
                      GOLD STAR® word trademark(s), and (ii) GOLD
                      STAR® logo trademark(s), which are owned by a
                      third party, preexisted it?

                      b) although Starbuzz did not identify the work as
                      being a derivative work, Starbuzz had received
                      authorization from the third party who owned the
                      GOLD STAR® word and logo trademarks to create
                      the Design incorporating those trademarks?

                2) If the Register of Copyrights opines that it would have
                refused Starbuzz’s Copyright Registration No. VAu 1-313-
                168, would the Register of Copyrights accept a
                supplementary registration by Starbuzz pursuant to §§
                1802.2; 1802.6(J) of the Compendium despite

                      a) Starbuzz failing to disclose the preexisting GOLD
                      STAR® word trademark(s) and GOLD STAR® logo
                      trademarks?

                      b) Starbuzz failing to disclose the preexisting
                      Canadian trademark?

          The Court will immediately request that the Register of Copyrights responds
   to this matter on or before August 5, 2019. The Clerk of Court shall send this
   Request to the Register of Copyrights, including as an exhibit the final court order
   for this motion.

   E.    Motion to Stay



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          “[F]ederal district courts in California have applied a two-part test when
   evaluating [a request to stay discovery]: (1) the pending motion must be potentially
   dispositive of the entire case, or at least dispositive on the issue at which discovery
   is directed; and (2) the court must determine whether the pending, potentially
   dispositive motion can be decided absent additional discovery.” Unicolors, No.
   15-cv-3866 DMG (ASx) at 8–9.

          Here, because the factual record has not been fully developed, the Court
   cannot make a determination as a matter of law that Starbuzz submitted the
   application with knowledge that inaccurate information was included. There
   remain disputed facts regarding Abdelmaseh’s authorization, as well as whether
   Arce used the GOLD STAR® logo as a basis for the Design. Under such
   circumstances, the Court does not find that the pending motion is likely to be
   dispositive absent additional discovery. Accordingly, the Court denies the motion
   to stay discovery.

                                     IV. CONCLUSION

         For the foregoing reasons, the Court grants the motion to request advice
   from the Register of Copyrights and denies the motion to stay.


                 IT IS SO ORDERED.


  July 3, 2019                                      _______________________________
                                                    James V Selna
                                                    U.S. District Court Judge




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